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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 18-CV-24100-COOKE/GOODMAN

   DIGNA VINAS,

                     Plaintiff/Counter Defendant,

   v.

   THE INDEPENDENT ORDER
   OF FORESTERS,

                     Defendant/Counter Plaintiff.
                                                    /

                        PLAINTIFF’S RESPONSES AND OBJECTIONS TO
                       DEFENDANT’S FIRST SET OF INTERROGATORIES

         Plaintiff, DIGNA VINAS, by and through undersigned counsel and pursuant to Rule 33 of

  the Federal Rules of Civil Procedure, hereby gives notice that she has served Responses and

  Objections to Defendant’s, THE INDEPENDENT ORDER OF FORESTERS, First Request Set of

  Interrogatories.

                                     CERTIFICATE OF SERVICE

          WE HEREBY CERTIFY that on March 13, 2020, the undersigned electronically served this
  date to Kristina B. Pett, Esq., Danielle E. Shure, Esq., McDowell Hetherington LLP, 2101 N.W.
  Corporate Blvd. Suite 316, Boca Raton, FL 33431, kristina.pett@mhllp.com,
  Danielle.shure@mhllp.com.

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                                                            GREENE & BUCHSBAUM, P.A.
                                                            Co-Counsel for Plaintiff
                                                            4000 Hollywood Blvd., Suite 485-S
                                                            Hollywood, FL 33021
                                                            (954) 966-2112 – phone
                                                            (954) 981-1605 - fax

                                                            By:          /s/ Craig M. Greene
                                                                  Craig M. Greene, Esq.
                                                                  Fla. Bar No. 618421
                                                                  cgreene@kramergreen.com
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                                              EXHIBIT "A"
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                                            and

                                            Adrian Neiman Arkin, Esq.
                                            MINTZ, TRUPPMAN, P.A.
                                            Co-Counsel for Plaintiff
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                                            North Miami, FL 33181
                                            (305) 893-5506 – phone
                                            adrianarkin@mintztruppman.com




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  JLYHQ PHGLFDO DGYLFH IRU GLDEHWHV RI ZKLFK \RX DUH DZDUH )RU HDFK LGHQWLILHG LQVWDQFH SOHDVH

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  JLYHQ PHGLFDO DGYLFH IRU VHQVRU\ SUREOHPV VHFRQGDU\ WR GLDEHWHV RI ZKLFK \RX DUH DZDUH )RU

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  IURPZKLFKWKH'HFHGHQWREWDLQHGWKHP)RUHDFKLWHPLGHQWLILHGSOHDVHVSHFLI\ D WKHQDPH E 

  WKHWLPHSHULRG V 'HFHGHQWXVHGWKHPHGLFDWLRQVXSSOHPHQWDQGRUQDWXUDORUKHUEDOWUHDWPHQWV

  DQG F WKHUHDVRQ V IRUWKH'HFHGHQWXVLQJWKHPHGLFDWLRQVXSSOHPHQWDQGRUQDWXUDORUKHUEDO

  WUHDWPHQW

  $16:(52EMHFWLRQ7KLVLQWHUURJDWRU\LVRYHUEURDGLQWLPHDQGVFRSHLUUHOHYDQWDQGQRW
  SURSRUWLRQDO JLYHQ WKH EDVLV IRU )RUHVWHU¶V GHQLDO RI 3ODLQWLII¶V FODLP DQG WKH LVVXHV WR EH
  DGGUHVVHGLQWKLVOLWLJDWLRQ6HH$UFKHUY&LW\RI:LQWHU+DYHQ:/  0'
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  DSSURSULDWHWLPHIUDPHDQGQRWSURSRUWLRQDWHWRWKHQHHGVRIWKLVFDVH ,QUH7DNDWD$LUEDJ
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  5XOH E  RIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUH³FU\VWDOL]HVWKHFRQFHSWRIUHDVRQDEOH
  OLPLWV RQ GLVFRYHU\ WKURXJK LQFUHDVHG UHOLDQFH RQ WKH FRPPRQVHQVH FRQFHSW RI
  SURSRUWLRQDOLW\´ &KLHI -XVWLFH -RKQ 5REHUWV  <HDU±(QG 5HSRUW RQ WKH )HGHUDO
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  9LQDV VXHG )RUHVWHU¶V IRU %UHDFK RI &RQWUDFW DV D UHVXOW RI )RUHVWHU¶V GHQLDO RI KHU OLIH
  LQVXUDQFHFODLP)RUHVWHU¶VGHQLDODQGGHIHQVHLQWKLVFDVHZDVEDVHGXSRQLWVDVVHUWLRQWKDW
  0U 9LQDV PDGH DQ DOOHJHG PLVUHSUHVHQWDWLRQ UHODWLQJ WR GLDEHWHV DQGRU NLGQH\VHQVRU\
  SUREOHPVVHFRQGDU\WRGLDEHWHV )RUHVWHUV$QVZHU'HIHQVHVDQG&RXQWHUFODLP'(3J
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  LUUHOHYDQW WR HLWKHU 9LQDV¶ FODLP IRU %UHDFK RI &RQWUDFW RU 'HIHQGDQW¶V GHIHQVH WKDW 9LQDV
  IDLOHG WR SURYLGH KLV EHVW NQRZOHGJH DQG EHOLHI DV WR GLDEHWHV GLDEHWLF QHXURSDWK\ DQGRU
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  GHSHQGV RQ WKH SDUWLHV¶ FODLPV DQG GHIHQVHV´  9LNLQJ <DFKW &R Y $IILOLDWHG )0 ,QV &R
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  KDYHORQJKHOGWKDW³>Z@KLOHWKHVWDQGDUGRIUHOHYDQF\>LQGLVFRYHU\@LVDOLEHUDORQHLWLVQRW
  VROLEHUDODVWRDOORZDSDUW\WRµURDPLQWKHVKDGRZ]RQHVRIUHOHYDQF\DQGWRH[SORUHPDWWHU
  ZKLFK GRHV QRW SUHVHQWO\ DSSHDU JHUPDQH RQ WKH WKHRU\ WKDW LW PLJKW FRQFHLYDEO\ EHFRPH
  VR´  )HGHUDO 5XOH RI &LYLO 3URFHGXUH 5XOH  E   &RPPLWWHH &RPPHQWV 7KH 5XOH ZDV
  DPHQGHGLQDQGVLJQDOVWRWKHFRXUWWKDWLWKDVWKHDXWKRULW\WRFRQILQHGLVFRYHU\WRWKH
  FODLPV DQG GHIHQVHV DVVHUWHG LQ WKH SOHDGLQJV DQG VLJQDOV WR WKH SDUWLHV WKDW WKH\ KDYH QR
  HQWLWOHPHQWWRGLVFRYHU\WRGHYHORSQHZFODLPVRUGHIHQVHVWKDWDUHQRWDOUHDG\LGHQWLILHGLQ
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                                                           REMHFWLRQV , DP XQDZDUH RI P\ KXVEDQG
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  WDNLQJ DQ\ PHGLFDWLRQV VXSSOHPHQWV QDWXUDO RU KHUEDO WUHDWPHQWV UHODWHG WR GLDEHWHV
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  RIZKLFK\RXDUHDZDUHIRUZKLFKWKH'HFHGHQWZDVGLDJQRVHGUHFHLYHGWUHDWPHQWRUFRQVXOWHGD

  PHGLFDO SURIHVVLRQDO RU KHDOWKFDUHSURYLGHU )RUHDFKLGHQWLILHGLQVWDQFHSOHDVHVSHFLI\ D WKH

  WLPHSHULRG V WKH'HFHGHQWVXIIHUHGIURPWKHFRQGLWLRQ E WKHQDPHRIWKHSURYLGHUDQG F WKH

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  $16:(52EMHFWLRQ7KLVLQWHUURJDWRU\LVRYHUEURDGLQWLPHDQGVFRSHLUUHOHYDQWDQGQRW
  SURSRUWLRQDO JLYHQ WKH EDVLV IRU )RUHVWHU¶V GHQLDO RI 3ODLQWLII¶V FODLP DQG WKH LVVXHV WR EH
  DGGUHVVHGLQWKLVOLWLJDWLRQ6HH$UFKHUY&LW\RI:LQWHU+DYHQ:/  0'
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  DSSURSULDWHWLPHIUDPHDQGQRWSURSRUWLRQDWHWRWKHQHHGVRIWKLVFDVH ,QUH7DNDWD$LUEDJ
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  5XOH E  RIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUH³FU\VWDOL]HVWKHFRQFHSWRIUHDVRQDEOH
  OLPLWV RQ GLVFRYHU\ WKURXJK LQFUHDVHG UHOLDQFH RQ WKH FRPPRQVHQVH FRQFHSW RI
  SURSRUWLRQDOLW\´ &KLHI -XVWLFH -RKQ 5REHUWV  <HDU±(QG 5HSRUW RQ WKH )HGHUDO
  -XGLFLDU\  :LWKRXWZDLYLQJVDLGREMHFWLRQ3ODLQWLIIVWDWHV
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  LQVXUDQFHFODLP)RUHVWHU¶VGHQLDODQGGHIHQVHLQWKLVFDVHZDVEDVHGXSRQLWVDVVHUWLRQWKDW
  0U 9LQDV PDGH DQ DOOHJHG PLVUHSUHVHQWDWLRQ UHODWLQJ WR GLDEHWHV DQGRU NLGQH\VHQVRU\
  SUREOHPVVHFRQGDU\WRGLDEHWHV )RUHVWHUV$QVZHU'HIHQVHVDQG&RXQWHUFODLP'(3J
    7KH SUHVHQW LQWHUURJDWRU\ ZKLFK LQTXLUHV DERXW DOO PHGLFDWLRQV VXSSOHPHQWV RU
  QDWXUDO RU KHUEDO WUHDWPHQWV XVHG E\ WKH 'HFHGHQW IURP  WKURXJK  LV FRPSOHWHO\
  LUUHOHYDQW WR HLWKHU 9LQDV¶ FODLP IRU %UHDFK RI &RQWUDFW RU 'HIHQGDQW¶V GHIHQVH WKDW 9LQDV
  IDLOHG WR SURYLGH KLV EHVW NQRZOHGJH DQG EHOLHI DV WR GLDEHWHV GLDEHWLF QHXURSDWK\ DQGRU
  QHSKURSDWK\LQWKH-DQXDU\DSSOLFDWLRQ6HH*ODWWHUY0&6&UXLVHV6$:/
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  GHSHQGV RQ WKH SDUWLHV¶ FODLPV DQG GHIHQVHV´  9LNLQJ <DFKW &R Y $IILOLDWHG )0 ,QV &R
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  KDYHORQJKHOGWKDW³>Z@KLOHWKHVWDQGDUGRIUHOHYDQF\>LQGLVFRYHU\@LVDOLEHUDORQHLWLVQRW
  VROLEHUDODVWRDOORZDSDUW\WRµURDPLQWKHVKDGRZ]RQHVRIUHOHYDQF\DQGWRH[SORUHPDWWHU
  ZKLFK GRHV QRW SUHVHQWO\ DSSHDU JHUPDQH RQ WKH WKHRU\ WKDW LW PLJKW FRQFHLYDEO\ EHFRPH
  VR´  )HGHUDO 5XOH RI &LYLO 3URFHGXUH 5XOH  E   &RPPLWWHH &RPPHQWV 7KH 5XOH ZDV
  DPHQGHGLQDQGVLJQDOVWRWKHFRXUWWKDWLWKDVWKHDXWKRULW\WRFRQILQHGLVFRYHU\WRWKH
  FODLPV DQG GHIHQVHV DVVHUWHG LQ WKH SOHDGLQJV DQG VLJQDOV WR WKH SDUWLHV WKDW WKH\ KDYH QR
  HQWLWOHPHQWWRGLVFRYHU\WRGHYHORSQHZFODLPVRUGHIHQVHVWKDWDUHQRWDOUHDG\LGHQWLILHGLQ
  WKHSOHDGLQJV 
  7KHSUHVHQWLQWHUURJDWRU\VHHNVLQIRUPDWLRQUHODWHGWRPHGLFDOFRQGLWLRQVWRWDOO\XQUHODWHGWR
  GLDEHWHVRUNLGQH\VHQVRU\SUREOHPVVHFRQGDU\WRDGLDEHWHV$VVXFKLWLVZKROO\LUUHOHYDQW
  WRWKHFODLPVDQGGHIHQVHVLQWKHFDVHDQGQRWSURSRUWLRQDOWRWKHSUHVHQWOLWLJDWLRQ
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  :LWKRXWZDLYLQJDQGFRQVLVWHQWZLWK       WKHDERYHREMHFWLRQV,DPXQDZDUHRIP\KXVEDQG
  :LWKRXWZDLYLQJDQGFRQVLVWHQWZLWKWKHDERYHREMHFWLRQV,DPXQDZDUHRIP\KXVEDQG
  EHLQJGLDJQRVHG    ZLWKUHFHLYLQJ WUHDWPHQW IRURUFRQVXOWLQJD PHGLFDOSURIHVVLRQDORUKHDOWK
  EHLQJGLDJQRVHGZLWKUHFHLYLQJWUHDWPHQWIRURUFRQVXOWLQJDPHGLFDOSURIHVVLRQDORUKHDOWK
  FDUHSURYLGHU    DERXW DQ\ VSHFLILFPHGLFDOFRQGLWLRQ RWKHUWKDQDVDGGUHVVHGLQDQVZHUWR
  FDUHSURYLGHUDERXWDQ\VSHFLILFPHGLFDOFRQGLWLRQRWKHUWKDQDVDGGUHVVHGLQDQVZHUWR
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  WKHUDSLVWV RU RWKHU KHDOWK FDUH SURYLGHUV ZLWK ZKRP WKH 'HFHGHQW FRQVXOWHG RI ZKLFK \RX DUH

  DZDUH)RUHDFKLQGLYLGXDOLGHQWLILHGLQFOXGH D WKHGDWH V WKH'HFHGHQWVDZFRQVXOWHGZLWKRU

  ZDVWUHDWHGE\WKHKHDOWKFDUHSURIHVVLRQDO E WKHUHDVRQIRUWKHWUHDWPHQWRUFRQVXOWDWLRQDQG F 

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  $16:(52EMHFWLRQ7KLVLQWHUURJDWRU\LVRYHUEURDGLQWLPHDQGVFRSHLUUHOHYDQWDQGQRW
  SURSRUWLRQDO JLYHQ WKH EDVLV IRU )RUHVWHU¶V GHQLDO RI 3ODLQWLII¶V FODLP DQG WKH LVVXHV WR EH
  DGGUHVVHGLQWKLVOLWLJDWLRQ6HH$UFKHUY&LW\RI:LQWHU+DYHQ:/  0'
  )OD   PHGLFDO LQIRUPDWLRQ DQG UHFRUGV VRXJKW RYHU D WHQ \HDU SHULRG ZDV QRW DQ
  DSSURSULDWHWLPHIUDPHDQGQRWSURSRUWLRQDWHWRWKHQHHGVRIWKLVFDVH ,QUH7DNDWD$LUEDJ
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  OLPLWV RQ GLVFRYHU\ WKURXJK LQFUHDVHG UHOLDQFH RQ WKH FRPPRQVHQVH FRQFHSW RI
  SURSRUWLRQDOLW\´ &KLHI -XVWLFH -RKQ 5REHUWV  <HDU±(QG 5HSRUW RQ WKH )HGHUDO
  -XGLFLDU\  :LWKRXWZDLYLQJVDLGREMHFWLRQ3ODLQWLIIVWDWHV
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  LQVXUDQFHFODLP)RUHVWHU¶VGHQLDODQGGHIHQVHLQWKLVFDVHZDVEDVHGXSRQLWVDVVHUWLRQWKDW
  0U 9LQDV PDGH DQ DOOHJHG PLVUHSUHVHQWDWLRQ UHODWLQJ WR GLDEHWHV DQGRU NLGQH\VHQVRU\
  SUREOHPVVHFRQGDU\WRGLDEHWHV )RUHVWHUV$QVZHU'HIHQVHVDQG&RXQWHUFODLP'(3J
    7KH SUHVHQW LQWHUURJDWRU\ ZKLFK LQTXLUHV DERXW DOO PHGLFDWLRQV VXSSOHPHQWV RU
  QDWXUDO RU KHUEDO WUHDWPHQWV XVHG E\ WKH 'HFHGHQW IURP  WKURXJK  LV FRPSOHWHO\
  LUUHOHYDQW WR HLWKHU 9LQDV¶ FODLP IRU %UHDFK RI &RQWUDFW RU 'HIHQGDQW¶V GHIHQVH WKDW 9LQDV
  IDLOHG WR SURYLGH KLV EHVW NQRZOHGJH DQG EHOLHI DV WR GLDEHWHV GLDEHWLF QHXURSDWK\ DQGRU
  QHSKURSDWK\LQWKH-DQXDU\DSSOLFDWLRQ6HH*ODWWHUY0&6&UXLVHV6$:/
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  GHSHQGV RQ WKH SDUWLHV¶ FODLPV DQG GHIHQVHV´  9LNLQJ <DFKW &R Y $IILOLDWHG )0 ,QV &R
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  1LQHW\ 6L[WK 6WUHHW 5HDOW\ &R Y /RHZ V ,QF  )5'   6'1<  &RXUWV
  KDYHORQJKHOGWKDW³>Z@KLOHWKHVWDQGDUGRIUHOHYDQF\>LQGLVFRYHU\@LVDOLEHUDORQHLWLVQRW
  VROLEHUDODVWRDOORZDSDUW\WRµURDPLQWKHVKDGRZ]RQHVRIUHOHYDQF\DQGWRH[SORUHPDWWHU
  ZKLFK GRHV QRW SUHVHQWO\ DSSHDU JHUPDQH RQ WKH WKHRU\ WKDW LW PLJKW FRQFHLYDEO\ EHFRPH
  VR´  )HGHUDO 5XOH RI &LYLO 3URFHGXUH 5XOH  E   &RPPLWWHH &RPPHQWV 7KH 5XOH ZDV
  DPHQGHGLQDQGVLJQDOVWRWKHFRXUWWKDWLWKDVWKHDXWKRULW\WRFRQILQHGLVFRYHU\WRWKH
  FODLPV DQG GHIHQVHV DVVHUWHG LQ WKH SOHDGLQJV DQG VLJQDOV WR WKH SDUWLHV WKDW WKH\ KDYH QR
  HQWLWOHPHQWWRGLVFRYHU\WRGHYHORSQHZFODLPVRUGHIHQVHVWKDWDUHQRWDOUHDG\LGHQWLILHGLQ
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  7KHSUHVHQWLQWHUURJDWRU\VHHNVLQIRUPDWLRQUHODWHGWRPHGLFDOFRQGLWLRQVWRWDOO\XQUHODWHGWR
  GLDEHWHVRUNLGQH\VHQVRU\SUREOHPVVHFRQGDU\WRDGLDEHWHV$VVXFKLWLVZKROO\LUUHOHYDQW
  WRWKHFODLPVDQGGHIHQVHVLQWKHFDVHDQGQRWSURSRUWLRQDOWRWKHSUHVHQWOLWLJDWLRQ
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  :LWKRXWZDLYLQJDQGFRQVLVWHQWZLWK WKH DERYH REMHFWLRQ WKHRQO\GRFWRU ,NQRZ5LJRZHQW
  :LWKRXWZDLYLQJDQGFRQVLVWHQWZLWKWKHDERYHREMHFWLRQWKHRQO\GRFWRU,NQRZ5LJRZHQW
  WRZDV 'U.HQQHWK+HUVKPDQ IRUUHJXODUFKHFNXSV,FDQQRWUHFDOOWKHH[DFW GDWHVWKDWKH
  WRZDV'U.HQQHWK+HUVKPDQIRUUHJXODUFKHFNXSV,FDQQRWUHFDOOWKHH[DFWGDWHVWKDWKH
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  'U+HUVKPDQ¶VQDPHDQGDGGUHVVLV.HQQHWK+HUVKPDQ+HUVKPDQ0HGLFDO&HQWHU
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  \RX DFFRPSDQLHG WKH 'HFHGHQW WR DQ\ KHDOWK FDUH IDFLOLW\ IRU GLDJQRVLV WUHDWPHQW WHVWLQJ RU

  FRQVXOWDWLRQLQFOXGLQJ D WKHGDWH E WKHQDPHDQGDGGUHVVRIWKHKHDOWKFDUHIDFLOLW\ F WKH

  QDPHRIWKHWUHDWLQJGRFWRUDQG G WKHV\PSWRPVUHVXOWLQJLQWKHYLVLW
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Case 1:18-cv-24100-MGC Document 62-1 Entered on FLSD Docket 03/26/2020 Page 9 of 19




  $16:(52EMHFWLRQ7KLVLQWHUURJDWRU\LVRYHUEURDGLQWLPHDQGVFRSHLUUHOHYDQWDQGQRW
  SURSRUWLRQDO JLYHQ WKH EDVLV IRU )RUHVWHU¶V GHQLDO RI 3ODLQWLII¶V FODLP DQG WKH LVVXHV WR EH
  DGGUHVVHGLQWKLVOLWLJDWLRQ6HH$UFKHUY&LW\RI:LQWHU+DYHQ:/  0'
  )OD   PHGLFDO LQIRUPDWLRQ DQG UHFRUGV VRXJKW RYHU D WHQ \HDU SHULRG ZDV QRW DQ
  DSSURSULDWHWLPHIUDPHDQGQRWSURSRUWLRQDWHWRWKHQHHGVRIWKLVFDVH ,QUH7DNDWD$LUEDJ
  3URGXFWV /LDELOLW\ /LWLJDWLRQ  :/  6' )ORULGD   7KH UHFHQWO\ DPHQGHG
  5XOH E  RIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUH³FU\VWDOL]HVWKHFRQFHSWRIUHDVRQDEOH
  OLPLWV RQ GLVFRYHU\ WKURXJK LQFUHDVHG UHOLDQFH RQ WKH FRPPRQVHQVH FRQFHSW RI
  SURSRUWLRQDOLW\´ &KLHI -XVWLFH -RKQ 5REHUWV  <HDU±(QG 5HSRUW RQ WKH )HGHUDO
  -XGLFLDU\  :LWKRXWZDLYLQJVDLGREMHFWLRQ3ODLQWLIIVWDWHV
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  9LQDV VXHG )RUHVWHU¶V IRU %UHDFK RI &RQWUDFW DV D UHVXOW RI )RUHVWHU¶V GHQLDO RI KHU OLIH
  LQVXUDQFHFODLP)RUHVWHU¶VGHQLDODQGGHIHQVHLQWKLVFDVHZDVEDVHGXSRQLWVDVVHUWLRQWKDW
  0U 9LQDV PDGH DQ DOOHJHG PLVUHSUHVHQWDWLRQ UHODWLQJ WR GLDEHWHV DQGRU NLGQH\VHQVRU\
  SUREOHPVVHFRQGDU\WRGLDEHWHV )RUHVWHUV$QVZHU'HIHQVHVDQG&RXQWHUFODLP'(3J
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  QDWXUDO RU KHUEDO WUHDWPHQWV XVHG E\ WKH 'HFHGHQW IURP  WKURXJK  LV FRPSOHWHO\
  LUUHOHYDQW WR HLWKHU 9LQDV¶ FODLP IRU %UHDFK RI &RQWUDFW RU 'HIHQGDQW¶V GHIHQVH WKDW 9LQDV
  IDLOHG WR SURYLGH KLV EHVW NQRZOHGJH DQG EHOLHI DV WR GLDEHWHV GLDEHWLF QHXURSDWK\ DQGRU
  QHSKURSDWK\LQWKH-DQXDU\DSSOLFDWLRQ6HH*ODWWHUY0&6&UXLVHV6$:/
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  GHSHQGV RQ WKH SDUWLHV¶ FODLPV DQG GHIHQVHV´  9LNLQJ <DFKW &R Y $IILOLDWHG )0 ,QV &R
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  KDYHORQJKHOGWKDW³>Z@KLOHWKHVWDQGDUGRIUHOHYDQF\>LQGLVFRYHU\@LVDOLEHUDORQHLWLVQRW
  VROLEHUDODVWRDOORZDSDUW\WRµURDPLQWKHVKDGRZ]RQHVRIUHOHYDQF\DQGWRH[SORUHPDWWHU
  ZKLFK GRHV QRW SUHVHQWO\ DSSHDU JHUPDQH RQ WKH WKHRU\ WKDW LW PLJKW FRQFHLYDEO\ EHFRPH
  VR´  )HGHUDO 5XOH RI &LYLO 3URFHGXUH 5XOH  E   &RPPLWWHH &RPPHQWV 7KH 5XOH ZDV
  DPHQGHGLQDQGVLJQDOVWRWKHFRXUWWKDWLWKDVWKHDXWKRULW\WRFRQILQHGLVFRYHU\WRWKH
  FODLPV DQG GHIHQVHV DVVHUWHG LQ WKH SOHDGLQJV DQG VLJQDOV WR WKH SDUWLHV WKDW WKH\ KDYH QR
  HQWLWOHPHQWWRGLVFRYHU\WRGHYHORSQHZFODLPVRUGHIHQVHVWKDWDUHQRWDOUHDG\LGHQWLILHGLQ
  WKHSOHDGLQJV 
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  7KHSUHVHQWLQWHUURJDWRU\VHHNVLQIRUPDWLRQUHODWHGWRPHGLFDOFRQGLWLRQVWRWDOO\XQUHODWHGWR
  GLDEHWHVRUNLGQH\VHQVRU\SUREOHPVVHFRQGDU\WRDGLDEHWHV$VVXFKLWLVZKROO\LUUHOHYDQW
  WRWKHFODLPVDQGGHIHQVHVLQWKHFDVHDQGQRWSURSRUWLRQDOWRWKHSUHVHQWOLWLJDWLRQ
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  :LWKRXW ZDLYLQJ DQG FRQVLVWHQW ZLWK
                                      ZLWK WKH DERYH        Q ,, GLG QRW JR ZLWK 5LJR
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  DSSRLQWPHQWVZLWK'RFWRU+HUVKPDQ
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              3OHDVHVWDWHWR WKHEHVW RI\RXUNQRZOHGJH DQG LQ DVPXFKGHWDLO DVSRVVLEOHWKH

  FLUFXPVWDQFHVVXUURXQGLQJWKHOHWWHUGDWHG-DQXDU\SUHSDUHGE\'U.HQQHWK+HUVKPDQ

  DQGVHQWWR)RUHVWHUVLQGLFDWLQJWKDWWKH'HFHGHQWZDVLQ³JRRGKHDOWK´DQGZDVQRW WDNLQJ DQ\

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   GLDEHWHVPHGLFDWLRQ

       $16:(57KHOHWWHUIURP'U+HUVKPDQZDVREWDLQHGDWWKHUHFRPPHQGDWLRQRI-DVPLQH
                   7KHOHWWHUIURP'U+HUVKPDQZDVREWDLQHG DWWKHUHFRPPHQGDWLRQRI-DVPLQH
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       WKHDJHQWWKDWVROGXVWKH)RUHVWHUSROLF\
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               ,GHQWLI\ DOO SROLFLHV RI KHDOWK LQVXUDQFH LQVXULQJ WKH 'HFHGHQW ZLWKLQ WKH  \HDUV

   SUHFHGLQJ -DQXDU\   )RU HDFK SROLF\ LGHQWLILHG SOHDVH SURYLGH D  WKH QDPH RI WKH

   LQVXUHU V  E  WKH SROLF\ QXPEHU V  F  WKH GDWH V  RI FRYHUDJH DQG G ZKHWKHU FRYHUDJH ZDV

   SURYLGHGXQGHUDJURXSHPSOR\HUSURJUDPDQGLIVRWKHQDPHRIWKHJURXSHPSOR\HU

   $16:(52EMHFWLRQ7KLVLQWHUURJDWRU\LVRYHUEURDGLQWLPHDQGVFRSHLUUHOHYDQWDQGQRW
   SURSRUWLRQDO JLYHQ WKH EDVLV IRU )RUHVWHU¶V GHQLDO RI 3ODLQWLII¶V FODLP DQG WKH LVVXHV WR EH
   DGGUHVVHGLQWKLVOLWLJDWLRQ6HH$UFKHUY&LW\RI:LQWHU+DYHQ:/  0'
   )OD   PHGLFDO LQIRUPDWLRQ DQG UHFRUGV VRXJKW RYHU D WHQ \HDU SHULRG ZDV QRW DQ
   DSSURSULDWHWLPHIUDPHDQGQRWSURSRUWLRQDWHWRWKHQHHGVRIWKLVFDVH ,QUH7DNDWD$LUEDJ
   3URGXFWV /LDELOLW\ /LWLJDWLRQ  :/  6' )ORULGD   7KH UHFHQWO\ DPHQGHG
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   OLPLWV RQ GLVFRYHU\ WKURXJK LQFUHDVHG UHOLDQFH RQ WKH FRPPRQVHQVH FRQFHSW RI
   SURSRUWLRQDOLW\´ &KLHI -XVWLFH -RKQ 5REHUWV  <HDU±(QG 5HSRUW RQ WKH )HGHUDO
   -XGLFLDU\  :LWKRXWZDLYLQJVDLGREMHFWLRQ3ODLQWLIIVWDWHV
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   9LQDV VXHG )RUHVWHU¶V IRU %UHDFK RI &RQWUDFW DV D UHVXOW RI )RUHVWHU¶V GHQLDO RI KHU OLIH
   LQVXUDQFHFODLP)RUHVWHU¶VGHQLDODQGGHIHQVHLQWKLVFDVHZDVEDVHGXSRQLWVDVVHUWLRQWKDW
   0U 9LQDV PDGH DQ DOOHJHG PLVUHSUHVHQWDWLRQ UHODWLQJ WR GLDEHWHV DQGRU NLGQH\VHQVRU\
   SUREOHPVVHFRQGDU\WRGLDEHWHV )RUHVWHUV$QVZHU'HIHQVHVDQG&RXQWHUFODLP'(3J
     7KH SUHVHQW LQWHUURJDWRU\ ZKLFK LQTXLUHV DERXW DOO PHGLFDWLRQV VXSSOHPHQWV RU
   QDWXUDO RU KHUEDO WUHDWPHQWV XVHG E\ WKH 'HFHGHQW IURP  WKURXJK  LV FRPSOHWHO\
   LUUHOHYDQW WR HLWKHU 9LQDV¶ FODLP IRU %UHDFK RI &RQWUDFW RU 'HIHQGDQW¶V GHIHQVH WKDW 9LQDV
   IDLOHG WR SURYLGH KLV EHVW NQRZOHGJH DQG EHOLHI DV WR GLDEHWHV GLDEHWLF QHXURSDWK\ DQGRU
   QHSKURSDWK\LQWKH-DQXDU\DSSOLFDWLRQ6HH*ODWWHUY0&6&UXLVHV6$:/
     6')OD  ³WKHGHWHUPLQDWLRQRIZKDWLVUHOHYDQWIRUGLVFRYHU\SXUSRVHV
   GHSHQGV RQ WKH SDUWLHV¶ FODLPV DQG GHIHQVHV´  9LNLQJ <DFKW &R Y $IILOLDWHG )0 ,QV &R
    :/  6' )OD   FLWLQJ )RRG /LRQ ,QF Y 8QLWHG )RRG  &RPPHUFLDO
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   KDYHORQJKHOGWKDW³>Z@KLOHWKHVWDQGDUGRIUHOHYDQF\>LQGLVFRYHU\@LVDOLEHUDORQHLWLVQRW
   VROLEHUDODVWRDOORZDSDUW\WRµURDPLQWKHVKDGRZ]RQHVRIUHOHYDQF\DQGWRH[SORUHPDWWHU
   ZKLFK GRHV QRW SUHVHQWO\ DSSHDU JHUPDQH RQ WKH WKHRU\ WKDW LW PLJKW FRQFHLYDEO\ EHFRPH
   VR´  )HGHUDO 5XOH RI &LYLO 3URFHGXUH 5XOH  E   &RPPLWWHH &RPPHQWV 7KH 5XOH ZDV
   DPHQGHGLQDQGVLJQDOVWRWKHFRXUWWKDWLWKDVWKHDXWKRULW\WRFRQILQHGLVFRYHU\WRWKH
   FODLPV DQG GHIHQVHV DVVHUWHG LQ WKH SOHDGLQJV DQG VLJQDOV WR WKH SDUWLHV WKDW WKH\ KDYH QR
   HQWLWOHPHQWWRGLVFRYHU\WRGHYHORSQHZFODLPVRUGHIHQVHVWKDWDUHQRWDOUHDG\LGHQWLILHGLQ
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Case 1:18-cv-24100-MGC Document 62-1 Entered on FLSD Docket 03/26/2020 Page 11 of 19




   7KHSUHVHQWLQWHUURJDWRU\DVNV3ODLQWLIIWRSURYLGH LQIRUPDWLRQWRWDOO\XQUHODWHGWRGLDEHWHV
   RU NLGQH\VHQVRU\ SUREOHPV VHFRQGDU\ WR D GLDEHWHV  $V VXFK LW LV ZKROO\ LUUHOHYDQW WR WKH
   FODLPVDQGGHIHQVHVLQWKHFDVHDQGQRWSURSRUWLRQDOWRWKHSUHVHQWOLWLJDWLRQ
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   3ROLF\,GRQRWUHFDOOWKHSROLF\QXPEHU
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             ,GHQWLI\ DOO OLIH LQVXUDQFH FRPSDQLHV WR ZKLFK WKH 'HFHGHQW RU 3ODLQWLII VXEPLWWHG

   DQ\DSSOLFDWLRQIRUFRYHUDJHRQWKH'HFHGHQW¶VOLIHVLQFH-DQXDU\<RXUDQVZHUVKRXOG

   LQFOXGH WKH IROORZLQJ LQIRUPDWLRQ D  LQVXUHU QDPH DQG FRQWUDFW LQIRUPDWLRQ E  GDWH RI

   DSSOLFDWLRQ F  DPRXQW RI OLIH LQVXUDQFH UHTXHVWHG DQG G  GDWH RI DSSOLFDWLRQ DFFHSWDQFH RU

   UHMHFWLRQ LQGLFDWHZKLFK 

   $16:(52EMHFWLRQ7KLVLQWHUURJDWRU\LVRYHUEURDGLQWLPHDQGVFRSHLUUHOHYDQWDQGQRW
   SURSRUWLRQDO JLYHQ WKH EDVLV IRU )RUHVWHU¶V GHQLDO RI 3ODLQWLII¶V FODLP DQG WKH LVVXHV WR EH
   DGGUHVVHGLQWKLVOLWLJDWLRQ6HH$UFKHUY&LW\RI:LQWHU+DYHQ:/  0'
   )OD   PHGLFDO LQIRUPDWLRQ DQG UHFRUGV VRXJKW RYHU D WHQ \HDU SHULRG ZDV QRW DQ
   DSSURSULDWHWLPHIUDPHDQGQRWSURSRUWLRQDWHWRWKHQHHGVRIWKLVFDVH ,QUH7DNDWD$LUEDJ
   3URGXFWV /LDELOLW\ /LWLJDWLRQ  :/  6' )ORULGD   7KH UHFHQWO\ DPHQGHG
   5XOH E  RIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUH³FU\VWDOL]HVWKHFRQFHSWRIUHDVRQDEOH
   OLPLWV RQ GLVFRYHU\ WKURXJK LQFUHDVHG UHOLDQFH RQ WKH FRPPRQVHQVH FRQFHSW RI
   SURSRUWLRQDOLW\´ &KLHI -XVWLFH -RKQ 5REHUWV  <HDU±(QG 5HSRUW RQ WKH )HGHUDO
   -XGLFLDU\  :LWKRXWZDLYLQJVDLGREMHFWLRQ3ODLQWLIIVWDWHV
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   9LQDV VXHG )RUHVWHU¶V IRU %UHDFK RI &RQWUDFW DV D UHVXOW RI )RUHVWHU¶V GHQLDO RI KHU OLIH
   LQVXUDQFHFODLP)RUHVWHU¶VGHQLDODQGGHIHQVHLQWKLVFDVHZDVEDVHGXSRQLWVDVVHUWLRQWKDW
   0U 9LQDV PDGH DQ DOOHJHG PLVUHSUHVHQWDWLRQ UHODWLQJ WR GLDEHWHV DQGRU NLGQH\VHQVRU\
   SUREOHPVVHFRQGDU\WRGLDEHWHV )RUHVWHUV$QVZHU'HIHQVHVDQG&RXQWHUFODLP'(3J
     7KH SUHVHQW LQWHUURJDWRU\ ZKLFK LQTXLUHV DERXW DOO PHGLFDWLRQV VXSSOHPHQWV RU
   QDWXUDO RU KHUEDO WUHDWPHQWV XVHG E\ WKH 'HFHGHQW IURP  WKURXJK  LV FRPSOHWHO\
   LUUHOHYDQW WR HLWKHU 9LQDV¶ FODLP IRU %UHDFK RI &RQWUDFW RU 'HIHQGDQW¶V GHIHQVH WKDW 9LQDV
   IDLOHG WR SURYLGH KLV EHVW NQRZOHGJH DQG EHOLHI DV WR GLDEHWHV GLDEHWLF QHXURSDWK\ DQGRU
   QHSKURSDWK\LQWKH-DQXDU\DSSOLFDWLRQ6HH*ODWWHUY0&6&UXLVHV6$:/
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   HQWLWOHPHQWWRGLVFRYHU\WRGHYHORSQHZFODLPVRUGHIHQVHVWKDWDUHQRWDOUHDG\LGHQWLILHGLQ
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   have long held that “[w]hile the standard of relevancy [in discovery] is a liberal one, it is not
   so liberal as to allow a party to ‘roam in the shadow zones of relevancy and to explore matter
   which does not presently appear germane on the theory that it might conceivably become
   so.”); Federal Rule of Civil Procedure, Rule 26(b)(1) Committee Comments (The Rule was
   amended in 2000 and signals to the court that it has the authority to confine discovery to the
   claims and defenses asserted in the pleadings, and signals to the parties that they have no
   entitlement to discovery to develop new claims or defenses that are not already identified in
   the pleadings).

   More specifically, what other life insurance carriers Mrs. Vinas applied for/to, when, the
   amount requested and whether the application was accepted or rejected is completely
   irrelevant to Defendant’s denial of coverage here.

          14.   Identify all policies of disability insurance insuring the Decedent within the 10 years

   preceding January 12, 2015. For each policy identified, please provide: (a) the name of the

   insurer(s); (b) the policy number(s); (c) the date(s) of coverage; and (d) whether coverage was

   provided under a group employer program and, if so, the name of the group employer.

   ANSWER: Objection. This interrogatory is overbroad in time and scope, irrelevant and not
   proportional given the basis for Forester’s denial of Plaintiff’s claim and the issues to be
   addressed in this litigation. See Archer v. City of Winter Haven, 2017 WL 3840435 *2 (M.D.
   Fla. 2017) (medical information and records sought over a ten year period was not an
   appropriate timeframe and not proportionate to the needs of this case); In re: Takata Airbag
   Products Liability Litigation, 2016 WL 1460143 (S.D. Florida 2016) (The recently amended
   Rule 26(b)(1) of the Federal Rules of Civil Procedure “crystalizes the concept of reasonable
   limits on discovery through increased reliance on the common-sense concept of
   proportionality.” Chief Justice John Roberts, 2015 Year–End Report on the Federal
   Judiciary 6 (2015)). Without waiving said objection Plaintiff states:

   Vinas sued Forester’s for Breach of Contract as a result of Forester’s denial of her life
   insurance claim. Forester’s denial and defense in this case was based upon its assertion that
   Mr. Vinas made an alleged misrepresentation relating to diabetes and/or kidney/sensory
   problems secondary to diabetes. (Foresters Answer Defenses and Counterclaim D.E. 34 Pg. 9
   ¶18). The present interrogatory, which inquires about all medications, supplements, or
   natural or herbal treatments used by the Decedent from 2005 through 2015, is completely
   irrelevant to either Vinas’ claim for Breach of Contract or Defendant’s defense that Vinas
   failed to provide his best knowledge and belief as to diabetes, diabetic neuropathy and/or
   nephropathy in the January 15, 2015 application. See Glatter v. MCS Cruises, S.A., 2019 WL
   1300896 *1, 4 (S.D. Fla. 2019) (“the determination of what is relevant for discovery purposes
   depends on the parties’ claims and defenses”); Viking Yacht Co. v. Affiliated FM Ins. Co.,
   2008 WL 8715540 (S.D. Fla. 2008) citing Food Lion, Inc. v. United Food & Commercial
   Workers Intern. Union, 103 F.3d 1007, 1012–13 (C.A.D.C.1997) (quoting Broadway and
   Ninety Sixth Street Realty Co. v. Loew's Inc., 21 F.R.D. 347, 352 (S.D.N.Y.1958)) (Courts
   have long held that “[w]hile the standard of relevancy [in discovery] is a liberal one, it is not
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       HDFKLGHQWLILHGFRPPXQLFDWLRQSOHDVHVSHFLI\ D WKHW\SHRIFRPPXQLFDWLRQ E GDWHRIHDFK

       FRPPXQLFDWLRQ F  ZKHWKHU WKH FRPPXQLFDWLRQ ZDV RUDO RU ZULWWHQ G  WKH VXEVWDQFH RI HDFK

       FRPPXQLFDWLRQDQGZKHWKHUDQ\GRFXPHQWVZHUHH[FKDQJHGGXULQJWKLVFRPPXQLFDWLRQ

   $16:(5,VSRNHZLWK/LVD%XFNODQGZKRDGYLVHGWKDWRXUFODLPZDVEHLQJGHQLHGDQGWKDW
              ,VSRNHZLWK/LVD%XFNODQGZKRDGYLVHGWKDWRXUFODLPZDVEHLQJGHQLHGDQGWKDW
   ,ZRXOGUHFHLYHDOHWWHUH[SODLQLQJ
   ,ZRXOGUHFHLYHDOHWWHUH[SODLQLQJ
   
                ,GHQWLI\ DQ\ DQG DOO FRPPXQLFDWLRQV DQG GRFXPHQWV UHODWLQJ WR RU UHIHUHQFLQJ WKH
                                                        
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   $SSOLFDWLRQ DQ\ TXHVWLRQV DQG DQVZHUV JLYHQ LQ FRQQHFWLRQ ZLWK WKH $SSOLFDWLRQ RU WKH

   &HUWLILFDWH

   $16:(52EMHFWLRQ7KLVUHTXHVWLVRYHUEURDGYDJXHXQFOHDUDQGFRQIXVLQJ)XUWKHUWKH
   LQWHUURJDWRU\ UHTXHVWV LQIRUPDWLRQ WKDW ZLOO FOHDUO\ EH SURWHFWHG E\ WKH DWWRUQH\ FOLHQW
   SULYLOHJHDV,¶YHGLVFXVVHGWKLVPDWWHUZLWKP\ODZ\HUVLQGHWDLO
   
   :LWKRXWZDLYLQJWKHDERYHREMHFWLRQDQGVXEMHFWWKHUHWRP\ODWHKXVEDQGVSRNHZLWK-D]PLQ
   :LWKRXWZDLYLQJWKH     DERYH REMHFWLRQDQGVXEMHFWWKHUHWRP\ODWHKXVEDQGVSRNHZLWK-D]PLQ
   /LJKWERXUQ WKH LQVXUDQFH
   /LJKWERXUQ        LQVXUDQFH DJHQW
                                  DJHQW WKDW VROG XV WKH SROLF\  6KH
                                                                        6KH FRPSOHWHG                    IRU
                                                                             FRPSOHWHG WKH DSSOLFDWLRQ IRU
   LQGLYLGXDOOLIHLQVXUDQFH7KHDSSOLFDWLRQUHIOHFWVZKDWZDVGLVFXVVHG5LJRDJDLQVSRNHZLWK
   LQGLYLGXDOOLIHLQVXUDQFH7KHDSSOLFDWLRQUHIOHFWVZKDWZDVGLVFXVVHG            5LJR DJDLQVSRNHZLWK
   0V  /LJKWERXUQ DGGLWLRQDOWLPHVDERXWIROORZXSLQIRUPDWLRQ,VSRNHZLWK0V/LJKWERXUQ
   0V/LJKWERXUQDGGLWLRQDOWLPHVDERXWIROORZXSLQIRUPDWLRQ,VSRNHZLWK0V/LJKWERXUQ
   DIWHU5LJRGLHG6KHDGYLVHGPHWRVHQGKLVPHGLFDOUHFRUGVWR)RUHVWHUV
   DIWHU5LJRGLHG6KHDGYLVHGPHWRVHQGKLVPHGLFDOUHFRUGVWR)RUHVWHUV
             3OHDVH H[SODLQ WKH IDFWXDO EDVLV IRU <RXU DOOHJDWLRQ WKDW WKH <RX KDYH VXVWDLQHG

   ³FRQVHTXHQWLDO GDPDJHV LQFOXGLQJ EXW QRW OLPLWHG WR ><RXU@ LQDELOLW\ WR SD\QHFHVVDU\ PRQWKO\

   H[SHQVHV´3OHDVHLGHQWLI\DOOGRFXPHQWVZKLFKVXSSRUW<RXUDOOHJDWLRQ

       $16:(5 7KH OLIH LQVXUDQFH SROLF\ ZDV WDNHQ VR WKDW , FRXOG FRQWLQXH WR OLYH     OLYH ZLWKRXW
       ZRUU\LQJ DERXW PDNLQJ EDVLF HQGV PHHW VKRXOG P\ KXVEDQG SDVV EHIRUH PH
       ZRUU\LQJ                                                                                    PH :KHQ WKH
       LQVXUDQFH FRPSDQ\
                    FRPSDQ\ UHIXVHG
                                UHIXVHG WR SD\ RQRQ WKLV
                                                        WKLV YDOLG FODLP IRU LQVXUDQFH EHQHILWV LW OHIW PH
                                                                                                                 PH
       GHVWLWXWH WR WKH SRLQW WKDW ,, DP KDYLQJ D KDUG WLPH WR SD\ P\ ELOOV RQ WLPH
                                                                                               WLPH DQG IRU RWKHU
       EDVLFQHFHVVLWLHV ,KDGQRPRQH\WREXU\P\KXVEDQGQHHGHGWRVHOOP\RZQ
                             ,KDGQRPRQH\WREXU\P\KXVEDQGQHHGHGWRVHOOP\RZQ OLIHSROLF\    OLIHSROLF\
       DQGZDVIRUFHGWRVHOOP\MHZHOU\WRSD\IRU5LJR¶VKHDGVWRQH 2Q-XO\%DQNRI
       DQGZDVIRUFHGWRVHOOP\MHZHOU\WRSD\IRU5LJR¶VKHDGVWRQH
       $PHULFDILOHGD FROOHFWLRQ ODZVXLW LQUHODWLRQWRP\IDLOXUHWRPDNHSD\PHQWV&DVH1R
       $PHULFDILOHGDFROOHFWLRQODZVXLWLQUHODWLRQWRP\IDLOXUHWRPDNHSD\PHQWV&DVH1R
       &&ILOHGLQ0LDPL'DGH&RXQW\ )RUSULYDF\DQGFRQILGHQWLDOLW\FRQFHUQV,ZLOO
       &&ILOHGLQ0LDPL'DGH&RXQW\)RUSULYDF\DQGFRQILGHQWLDOLW\FRQFHUQV,ZLOO
       QRW SURYLGH P\ EDQN DFFRXQW LQIRUPDWLRQ RU RWKHU ELOOVFUHGLW FDUG VWDWHPHQWV LQ WKLV        WKLV
       UHVSRQVH
   
                3OHDVH H[SODLQ WKH IDFWXDO EDVLVIRU <RXU DOOHJDWLRQ WKDW ³DV D GLUHFW DQG SUR[LPDWH

   UHVXOW RI )RUHVWHUV¶ IDLOXUH WR WLPHO\ SD\ WKH GHDWK EHQHILW WR 9LQDV 9LQDV LV VXIIHULQJ

   FRQVHTXHQWLDO GDPDJHV RI XQSDLG GHEWV DFFUXLQJ LQWHUHVW DQG GHIHQVH FRVWV LQ GHIHQVH RI WKH

   FRXQW\ FRXUW FROOHFWLRQ DQG RWKHU H[SHQVHV´ 3OHDVH LGHQWLI\ DOO GRFXPHQWV ZKLFK VXSSRUW <RXU

   DOOHJDWLRQ

       $16:(52EMHFWLRQ$VNHGDQGDQVZHUHG6HHUHVSRQVHWR,QWHUURJDWRU\
                                              6HHUHVSRQVHWR,QWHUURJDWRU\ 
   
                3OHDVH H[SODLQ WKH IDFWXDO EDVLV IRU <RXU DOOHJDWLRQ WKDW WKH 'HFHGHQW DQVZHUHG DOO

   TXHVWLRQV RQ WKH $SSOLFDWLRQ DQG 4XHVWLRQQDLUH E\ ³SURYLGLQJ LQIRUPDWLRQ ZKLFK ZDV WUXH DQG

   FRPSOHWHWRWKHEHVWRI>KLV@NQRZOHGJH´3OHDVHLGHQWLI\DOOGRFXPHQWVZKLFKVXSSRUW<RXU
                                                   
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   DOOHJDWLRQ

   $16:(52EMHFWLRQ1RWRQO\GRHVWKLVLQWHUURJDWRU\QRWDFFXUDWHO\UHIOHFWWKHDSSOLFDWLRQ
   TXHVWLRQ LW GRHV QRW PDNH JUDPPDWLFDO VHQVH DV LW LV LPSRVVLEOH WR GLVFHUQ H[DFWO\ ZKDW
   'HIHQGDQW LV VHHNLQJ  7KH LQWHUURJDWRU\ DOVR PLVFKDUDFWHUL]DWLRQ WKH DOOHJDWLRQV LQ WKH
   $PHQGHG&RPSODLQWEHFDXVHLWIDLOVWRTXRWHWKH$PHQGHG&RPSODLQWDVGUDIWHGEXWUDWKHU
   SDUDSKUDVHG FKHUU\SLFNHG ZRUGV  )LQDOO\ WKH LQWHUURJDWRU\ LPSURSHUO\ VHHNV FRXQVHO¶V
   OLWLJDWLRQVWUDWHJLHVDQGWKRXJKWVDQGWKXVLVSURWHFWHGE\ZRUNSURGXFWSULYLOHJH
     
   :LWKRXWZDLYLQJWKHREMHFWLRQDQGVXEMHFWWKHUHWRW    WKHIDFWXDOEDVLVIRUWKHVHDOOHJDWLRQVDUH
   :LWKRXWZDLYLQJWKHREMHFWLRQDQGVXEMHFWWKHUHWRWKHIDFWXDOEDVLVIRUWKHVHDOOHJDWLRQVDUH
   FRQWDLQHG ZLWKLQ WKH GHSRVLWLRQ TXHVWLRQV DQG DQVZHUV RI )RUHVWHU¶V &RUSRUDWH     &RUSRUDWH
   5HSUHVHQWDWLYHDQGZLWQHVVHVWDNHQRQ0DUFK
   5HSUHVHQWDWLYHDQGZLWQHVVHVWDNHQRQ0DUFK      WKDQG
                                                         DQG WKWKHPHGLFDOUHFRUGVRI'RFWRU
                                                                     WKHPHGLFDOUHFRUGVRI'RFWRU
   +HUVKPDQ     DQGWKHIDFWWKDW5LJRZDVQHYHUWROGKHKDGGLDEHWHV6LQFHKHZDVQHYHUWROGKH
   +HUVKPDQDQGWKHIDFWWKDW5LJRZDVQHYHUWROGKHKDGGLDEHWHV6LQFHKHZDVQHYHUWROGKH
   KDGGLDEHWHVKHGLGQRWKDYHDQGREYLRXVO\GLGQRWEHOLHYHKHKDGDQ\FRQGLWLRQVVHFRQGDU\
   KDGGLDEHWHVKHGLGQRWKDYHDQGREYLRXVO\GLGQRWEHOLHYHKHKDGDQ\FRQGLWLRQVVHFRQGDU\
   WR GLDEHWHV  7KH GRFXPHQWV VXSSRUWLQJ WKLV DOOHJDWLRQ DUH WKH H[KLELWV WR WKRVH &5   &5
   GHSRVLWLRQVDQGWKHH[KLELWVWRWKRVHGHSRVLWLRQVDVZHOOGRFWRU+HUVKPDQ¶VUHFRUGV
   GHSRVLWLRQVDQGWKHH[KLELWVWRWKRVHGHSRVLWLRQVDVZHOOGRFWRU+HUVKPDQ¶VUHFRUGV
   
   3ODLQWLIIUHVHUYHVWKHULJKWWRDPHQGWKLVDQVZHUDVGLVFRYHU\LVRQJRLQJ
   
   
             3OHDVH H[SODLQ WKH IDFWXDO EDVLV IRU <RXU DOOHJDWLRQ WKDW ³WKH LQIRUPDWLRQ ZKLFK

   )RUHVWHUV FODLPV ZDV RPLWWHG ZDV QRW µPDWHULDO¶ WR )RUHVWHUV¶ GHWHUPLQDWLRQ RI WKH ULVN DQG

   )RUHVWHUV ZRXOG KDYH LVVXHG WKH LGHQWLFDO 3ROLF\´ 3OHDVH LGHQWLI\ DOO GRFXPHQWV ZKLFK VXSSRUW

   <RXUDOOHJDWLRQ

   $16:(52EMHFWLRQ,PSURSHUO\VHHNVFRXQVHO¶VOLWLJDWLRQVWUDWHJLHVDQGWKRXJKWVDQGWKXV
   LVSURWHFWHGE\ZRUNSURGXFWSULYLOHJH
     
   :LWKRXWZDLYLQJWKHREMHFWLRQDQGVXEMHFWWKHUHWRWKHIDFWXDOEDVLVIRUWKHVHDOOHJDWLRQVDUH
   :LWKRXWZDLYLQJWKHREMHFWLRQDQGVXEMHFWWKHUHWR    WWKHIDFWXDOEDVLVIRUWKHVHDOOHJDWLRQVDUH
   FRQWDLQHG ZLWKLQ WKH GHSRVLWLRQ TXHVWLRQV DQG DQVZHUV RI )RUHVWHU¶V &RUSRUDWH  &RUSRUDWH
   5HSUHVHQWDWLYHDQGZLWQHVVHVWDNHQRQ0DUFK WKDQG
   5HSUHVHQWDWLYHDQGZLWQHVVHVWDNHQRQ0DUFK       DQG WKDVZHOOWKHPHGLFDOUHFRUGVRI
                                                                 DVZHOOWKHPHGLFDOUHFRUGVRI
   'RFWRU +HUVKPDQ  7KH GRFXPHQWV VXSSRUWLQJ WKLV DOOHJDWLRQ DUH WKH H[KLELWV WR WKRVH &5
   GHSRVLWLRQVDQGWKHH[KLELWVWRWKRVHGHSRVLWLRQVDVZHOOGRFWRU+HUVKPDQ¶VUHFRUGV
   GHSRVLWLRQVDQGWKHH[KLELWVWRWKRVHGHSRVLWLRQVDVZHOOGRFWRU+HUVKPDQ¶VUHFRUGV
     
   3ODLQWLIIUHVHUYHVWKHULJKWWRDPHQGWKLVDQVZHUDVGLVFRYHU\LVRQJRLQJ
   
              3OHDVH H[SODLQ WKH IDFWXDO EDVLV IRU <RXU DOOHJDWLRQ WKDW ³)RUHVWHUV LPSURSHUO\

   LQWHUSUHWHG)ORULGDODZDVDSSOLHGWRWKHIDFWVRIWKLVFDVHWRUHTXLUHDKLJKHUWKUHVKROGRIDFFXUDF\

   WKDQLWUHTXHVWHGLQWKHRULJLQDODSSOLFDWLRQIRULQVXUDQFHDQGWKH'LDEHWHV4XHVWLRQQDLUH´3OHDVH

   LGHQWLI\DOOGRFXPHQWVZKLFKVXSSRUW<RXUDOOHJDWLRQ

                                                      
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       $16:(5 2EMHFWLRQ ,PSURSHUO\ VHHNV FRXQVHO¶V OLWLJDWLRQ VWUDWHJLHV DQG WKRXJKWV DQG
       WKXVLVSURWHFWHGE\ZRUNSURGXFWSULYLOHJH
       
       :LWKRXWZDLYLQJWKHREMHFWLRQDQGVXEMHFWWKHUHWRWKHIDFWXDOEDVLVIRUWKHVHDOOHJDWLRQVDUH
       :LWKRXWZDLYLQJWKHREMHFWLRQDQGVXEMHFWWKHUHWR   WKHIDFWXDOEDVLVIRUWKHVHDOOHJDWLRQVDUH
       FRQWDLQHG ZLWKLQ WKH GHSRVLWLRQ TXHVWLRQV DQG DQVZHUV RI )RUHVWHU¶V &RUSRUDWH &RUSRUDWH
       5HSUHVHQWDWLYHDQGZLWQHVVHVWDNHQRQ0DUFK
       5HSUHVHQWDWLYHDQGZLWQHVVHVWDNHQRQ0DUFK     WKDQG
                                                            DQGWKDVZHOOWKHPHGLFDOUHFRUGVRI
                                                                    DVZHOOWKHPHGLFDOUHFRUGV RI
       'RFWRU+HUVKPDQ     7KHGRFXPHQWVVXSSRUWLQJWKLV DOOHJDWLRQDUHWKHH[KLELWVWRWKRVH &5
       'RFWRU+HUVKPDQ7KHGRFXPHQWVVXSSRUWLQJWKLVDOOHJDWLRQDUHWKHH[KLELWVWRWKRVH
       GHSRVLWLRQVDQGWKHH[KLELWVWRWKRVHGHSRVLWLRQVDVZHOOGRFWRU+HUVKPDQ¶VUHFRUGV
       GHSRVLWLRQVDQGWKHH[KLELWVWRWKRVHGHSRVLWLRQVDVZHOOGRFWRU+HUVKPDQ¶VUHFRUGV
       
       3ODLQWLIIUHVHUYHVWKHULJKWWRDPHQGWKLVDQVZHUDVGLVFRYHU\LVRQJRLQJ
   




                                                    
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                                                       Digna Vinas

    STATE OF FLORIDA                     )
                                         ) ss.:
    COUNTY OF                            )

           Sworn to and subscribed before me, the undersigned authority, by DIGNA VINAS,

    who is personally known to me or who produced _                         as identification,

    and who states that her responses to Defendant’s First Set of Interrogatories Directed to

    Plaintiff are based on her personal knowledge and that the statements in these responses

    are true and correct.



                                                       (Signature of Notary)


                                                       (Printed Name of Notary)


                                                       Commission Number)




                                                  19
